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The Honorable Benjamin H. Settle

UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WASHINGTON

QUENTIN M. PARKER and KATHERINE R.
PARKER, husband and wife and the marital
community thereof,

Plaintiffs,
Vv.

THE STATE OF WASHINGTON;
WASHINGTON STATE PATROL; CARLOS
RODRIGUEZ, in his individual and official
capacities; KRISTIPOHL, in her individual
and official capacities; DARRELL NOYES, in
his individual and official capacities; TRAVIS
CALTON, in his individual and official
capacities, MAURICE RINCON, in his
individual and official capacities; WILLIAM
STEEN, in his individual and official
capacities; JAMES TAYLOR, in his individual
and official capacities; CITY OF OLYMPIA, a
municipality; AARON FICEK, in his
individual and official capacities;
OPERATION UNDERGROUND
RAILROAD, INC., a foreign non-profit
corporation; THURSTON COUNTY, a
municipality and subdivision of the State of
Washington, SHAWN HORLACHER, a
former Thurston County Deputy Prosecutor, in
his individual and official capacities; JOHN
DOE AND JANE JOE 1-10, et al.,

Defendants.

 

 

Case No. 3:21-ev-05258-BHS

NOTICE OF ACCEPTANCE OF OFFER
OF JUDGMENT AGAINST
DEFENDANT OPERATION
UNDERGROUND RAILROAD, INC,

To: ALL NAMED DEFENDANTS AND THEIR LEGAL COUNSEL OF RECORD

NOTICE OF ACCEPTANCE OF OFFER OF JUDGMENT, 0.U.R, 1

CASE NO, 3;:21-CV-05258-BHS

Harold Karlsvik, P.S.
Attorney at Law
P.O. Box 292
South Bend, Washington 98586
Phone f (360) 942-4612

 

 
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Take notice that the plaintiffs accept the offer of the defendant Operational Underground

Railroad dated May 6, 2021, allowing plaintiff to take judgment in this action for the total sum of

 

 

$100,000, which includes all court costs and reasonable attorney fees incurred by Plaintiffs to
date as it relates to any current officer, director or employee of defendant Operational
Underground, Inc.
j Nee
Dated this ‘ / day of May 2021, ay oe
By Vuul! b>
Harold Karlsvik, P.S.
Attorney at Law
P.O, Box 292
South Bend, WA 98586
Attorney for Plaintiffs
TO:
Clifford 8. Davidson
Snell & Wilmer
2018 156" Ave NE, Suite 100
Bellevue, Washington 98007
esdavidson@swlaw.com
Attorney for Operation Underground Railroad, Inc,
Harold Karlsvik, P.S.
NOTICE OF ACCEPTANCE OF OFFER OF JUDGMENT, 0.U.R, - 2 Attomey at Law
CASE NO. 3:21-CV-05258-BHS P.O. Box 292

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CERTIFICATE OF SERVICE

I hereby certify that on May 14, 2021 I caused to be served a full and exact copy of the
Notice of Acceptance of Offer of Judgment, O.U.R., by email, pursuant to the parties’ electronic

service agreement the following persons:

Grace C.8, O’Connor

Thurston County Prosecutor’s Office
Civil Division- Bldg. No. 5

2000 Lakeridge Drive SW

Olympia, WA 98502

Email: grace,oconnor@co.thurston.wa.us
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and Shawn Horlacher

John E. Justice

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Franklin Wilson ~~

Varalegal and Licensed Investigator

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